     Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 1 of 22 Page ID #:2159



         1 Byron Z. Moldo(SBN 109652)
             bmoldo ecJlaw.com
         2 ERVIN   C~HEN & JESSUP LLP
           9401  Wilshire Boulevard, Ninth Floor
         3 Beverly Hills, California 90212-2974
           Tel: (310)273-6333
         4 Fax: (310)859-2325
         5 Attorneys for Stephen J. Donell, Permanent Receiver
         6
         7
                                      UNITED STATES DISTRICT COURT
         8
                                    CENTRAL DISTRICT OF CALIFORNIA
         9
        10
a            SECURITIES AND EXCHANGE                              CASE NO. CV 10-1689-JLS-AJW
        11   COMNIISSION,
 w                                                                NOTICE OF MOTION AND
-~      12                  Plaintiff,                            MOTION OF STEPHEN J. DONELL,
                                                                  PERMANENT RECEIVER,TO
z       13          v.                                            APPROVE: RECEIVER'S FINAL
w                                                                 ACCOUNT AND REPORT A~1D
z       14 ~'R.ANCOIS E. DLIRMAZ aka                              COMPENSA'~ION; REQUEST FOR
           MAHMiJT E. DLTRMAZ),K.OBERT C.                         COMPENSATION OF THE
V       15 PRIBILSKI, USA RETIRElV~ENT                            RECEIVER'S COUNSEL AND
z          MANAGEMENT SERVICES(aka USA                            ACCOUNTANT;DISCHARGE OF
        16 FINANCIAL MANAGEMENT                                   THE RECEIVER; ABANDONMENT
w          SERVICES,INC.),                                        OR DESTRUCTION OF BOOKS
        17                                                        AND RECORDS; DISBURSEMENT
                       Defendants.                                OF REMAINING FUNDS; AND
        18                                                        EXONERATION OF THE BOND;
                  ~ •.                                            DECLARATION OF STEPHEN J.
        19                                                        DONELL IN SUPPORT THEREOF
           SIBEL INCE, ME~IlVIET KARAKUS,
        20 MA,RLALI GAYRIMENKUL                                   DATE: July 27, 2018
           YAT~RIMLARI, MARLAL~                                   TIME: 2:30 P.M.
        21 PROPERTY INVESTMENT
           COMPANY,LLC,GULEN                                      CTRM: l0A
        22 ENTERPRISES,INC.,
                                                                  Hon. Josephine L. Staton
        23                  Relief Defendants.
                                                                 [Pursuant to Local Rule 66-7]
        24
                                                                [Special Notice ofMotion to All Known
        25                                                      Potential Claimants Filed Concurrently
                                                                Herewith 1
        26
        27
        28
             13326.7:9256079.1
                 MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOiJNT AND DISCHARGE
    Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 2 of 22 Page ID #:2160



        1   TO THE HONORABLE JOSEPHINE L. STATON,UNITED STATES
        2 DISTRICT JUDGE,ALL PARTIES HEREIN,AND THEIR RESPECTIVE
        3 COUNSEL OF RECORD:
        4         PLEASE TAKE NOTICE that on July 27, 2018 at 2:30 p.m., or as soon
        5 thereafter as counsel may be heard, in Courtroom l0A of the above-entitled Court
        6 located at 411 West Fourth Street, Santa Ana, California, 92701, Stephen J. Donell,
        7 Permanent Receiver ("Receiver")for defendant USA Retirement Management
        8 Services (aka USA Financial Management Services, Inc.)("USA")and all entities
        9 controlled by defendants Francois E. Durmaz("Durmaz")and Robert C. Pribilski
       10 ("Pribilski"), including Marlali Property Investment Company,LLC ("Marlali"),
       11   and their subsidiaries and affiliates (collectively "Receivership Entities"), will and
N
W
       12 hereby does move the Court for an order:

z      13          1.     Approving, settling and allowing the Receiver's Final Account and
w
       14 Report herein.
O
V      15          2.     Terminating the Receivership and discharging the Receiver from all
z
       16 further duties, liabilities and responsibilities.
w
       17          3.      Allowing, settling and approving the Receiver's total fees in the sum of
       18 $402,523.13 and costs in the sum of $17,234.81 through the termination ofthe
       19 Receivership.
       20          4.      Allowing, settling and approving the total fees and costs of the
       21   Receiver's counsel, Ervin Cohen &Jessup LLP("ECJ"), through the termination of
       22 the Receivership herein in the sum of$167,748.17
       23          5.      Allowing, settling and approving the total fees and costs of the
       24 Receiver's special counsel (retention approved pursuant to Court order under seal),
       25 through the termination ofthe Receivership herein in the sum of $14,665.00.
       26          6.      Allowing, settling and approving the total fees and costs of the
       27 Receiver's accountants, Crowe Horvath LLP ("Crowe"), through the termination of
       28 the Receivership herein in the amount of $182,184.48.
            13326.7:9256079.1                               L
                MOTION OF STEPHEN J. DONELL,PERMANENT RECENER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 3 of 22 Page ID #:2161




    1          7.     Authorizing the Receiver to distribute the remaining funds in the
    2 Receivership Estate, to the Receiver, ECJ, special counsel, and Crowe,pro rata, in
    3 partial satisfaction of their approved administrative fee claims.
    4          8.     In the event that funds become available, and the Receiver and his
    5 retained professionals have been paid in full, authorizing the Receiver to distribute
    6 any funds to priority claimants 2121 Avenue of the Stars, LLC, and former
    7 employees of the Receivership Entities.
    8         9.      In the event that any payments by the Receiver to Court-approved
    9 professionals or claimants are not negotiated within ninety(90) days, authorizing the
   10 Receiver to distribute the funds that were not negotiated to the remaining claimants
   11   on a pro rata basis;
   12          10.    Ratifying, confirming and approving all ofthe Receiver's acts,
   13 transactions and all of his actions, including the actions of his attorneys,
   14   accountants, employees and agents, as Receiver herein for the duration ofthe
   15 Receivership as being right and proper and in the best interests of the Receivership
   16 Estate and the parties to this action.
   17          1 1.   Ratifying, confirming and approving all distributions for compensation
   18 and costs to the Receiver made during the Receivership.
   19          12.    Ratifying, confirming and approving all distributions for compensation
   20 and costs to ECJ made during the Receivership.
   21          13.    Ratifying, confirming and approving all distributions for compensation
   22 and costs to the Receiver's special counsel made during the Receivership.
   23          14.    Ratifying, confirming and approving all distributions for compensation
   24 and costs to Crowe made during the Receivership.
   25          15.    Releasing the Receiver and the Receivership Estate from all liability for
   26 any and all claims, demands or causes of action that may have directly or indirectly
   27 arisen from the Receivership Estate prior to, during or after the Receivership period,
   28 that were not brought before this Court before the time of hearing on the Final
        13326 7'9256079 I                                 i
            MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 4 of 22 Page ID #:2162




    1    Account and Report.
    2           16.    Authorizing the Receiver to abandon or destroy all books and records
    3 of the Receivership Estate under his control.
    4           17.    Exonerating and thereby releasing from any liability whatsoever any
    5    bond heretofore filed by the Receiver and exonerating the sureties thereon.
    6          The Receiver's Motion is brought pursuant to Local Rule 66-7 and is based
    7 on this Notice of Motion; the Notice of Motion to Claimants, filed concurrently
    8    herewith and attached hereto as Exhibit "A"; the supporting declaration of Stephen
    9    J. Donell; the Receiver's Final Accounting; the records on file in this action; and
   10    such other oral and documentary evidence as may be presented at or before the time
   11    of hearing.
   12
   13 DATED: June 14, 2018                         ERVIN COHEN & JESSUP LLP
   14
   15
                                                   Bv: /s/ RYRON Z. MnLD(~
   16                                                 BYRON Z. MOLDO
   1~                                                 Attorneys for Stephen J. Donell,
                                                      Permanent Receiver
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         13326 79256079.1                                 4
             MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL, ACCOUNT AND DISCHARGE
 Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 5 of 22 Page ID #:2163




      1                  MEMORANDUM OF POINTS AND AUTHORITIES
     2                                                     I.

     3                                          INTRODUCTION
     4           On March 9, 2010 this Court appointed Stephen J. Donell ("Receiver"), as
     5 Temporary Receiver for defendant USA Retirement Management Services (aka
     6 USA Financial Management Services, Inc.)("USA")and all entities controlled by
      7 defendants Francois E. Durmaz("Durmaz")and Robert C. Pribilski ("Pribilski"),
     8 including Marlali Property Investment Company, LLC ("Marlali"), and their
     9 subsidiaries and affiliates (collectively "Receivership Entities").[Docket Entry 10]
     10 On March 24, 2010 this Court entered its order ("Appointing Order") which
a
     11   confirmed the Receiver's appointment as Permanent Receiver.[Docket Entry 25].
 w
-~   12   A true and complete copy ofthe Appointing Order is attached hereto as Exhibit"B"

z    13          The Receiver was appointed upon the motion of the Securities and Exchange
w
     14 Commission ("SEC"), which filed a complaint against the defendants alleging
O
U    15   various violations of the Securities Act of 1933 and Securities and Exchange Act of
z
     16   1934. The defendants were accused of luring prospective individuals into a scheme
w
     17 to defraud individuals through various estate planning investment vehicles. The
     18 defendants were in fact operating a scheme that misappropriated approximately $22
     19 million through the Receivership Entities. Funds were transferred by and between
     20 the Receivership Entities, owned and controlled entities, and the individuals
     21   defendants domestically and internationally. Therefore, the Receiver was tasked
     22   with liquidating the remaining assets of the Receivership Entities and attempting to
     23 recover funds for the benefit of the defrauded individuals.
     24          The Appointing Order provided, among other things, that the Receiver had
     25 the full powers of an equity receiver for the Receivership Entities and for all funds,
     26 assets, premises, collateral, and other assets belonging to or in the possession or
     27 control ofthe Receivership Entities or any of them. [Docket Entry 25, Pg. 7, Sec
     28   VIII] Pursuant to the Appointing Order, this Court directed the Receiver to make
          13326J:9256079.1                                 ~
              MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 6 of 22 Page ID #:2164




    1   such payments and disbursements from the funds and assets taken into custody,
    2 control and possession or thereafter received by him, and to incur, or authorize the
    3 making of such agreements as may be necessary and advisable in discharging his
    4 duties as Permanent Receiver. [Docket Entry 25, Pg. 9, Sec VIII(F)]. As the
    5 Receiver believes that he has concluded his duties, he prepared a final account
    6 summary, attached hereto as Exhibit"C"
    7          During the course ofthe Receivership, the Receiver engaged various
    8 professionals, including the law firm of Ervin Cohen &Jessup LLP("ECJ")as
    9 general counsel; special counsel (retention approved pursuant to Court order under
   10 seal); and the accounting firm of Crowe Horwath LLP ("Crowe") as forensic and tax
   11   accountant. The Receiver investigated the defendants and Receivership Entities by
   12 engaging in detailed document review and forensic accounting. A claims procedure
   13 proposed by the Receiver was established by the Court to allow potential claimants
   14 to make claims against the funds in the Receivership Estate. Once the Receiver
   15 established an inventory of the assets of the Receivership Estate, he began
   16 liquidating assets and recovering funds for distribution to investors. Throughout the
   17 course of the Receivership, the Receiver worked closely with the SEC and regularly
   18 provided status updates to this Court. Furthermore, the Receiver periodically sought
   19 further instructions and approval from this Court when necessary in the
   20 administration of the Receivership Estate.
   21          The Receiver previously filed two(2)interim fee applications that were
   22 approved by the Court. In order to aid the Court to disclose the fees and costs
   23 incurred by the Receiver, ECJ, and Crowe, as well as the amounts proposed to be
   24 paid, the Received prepared the following summary:
   25          Receiver
   26          Total fees incurred                                             $402,523.13
   27          Total expenses incurred                                           $17,234.81
   28
        13326.7:9256079.1                                (j
            MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGF.
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 7 of 22 Page ID #:2165




    1           Total fees approved                                              $331,712.64
    2           Total expenses approved                                            $15,868.52
    3           Fees Paid to Date                                                $331,712.64
    4           Expenses Paid to Date                                              $15,868.52
    5           Fees and Expenses Paid to Date                                   $347,581.16
    6           Outstanding Fees                                                   $70,810.49
    7           Outstanding Expenses                                                 $1,366.29
    8           Proposed payment of outstanding fees                               $32,954.98
    9           Proposed payment of outstanding expenses                             $1,366.29
   10
   11           Legal — ECJ
   12           Total fees and expenses incurred                                  $167,748.17
   13           Total fees and expenses approved                                  $132,144.83
   14           Fees and Expenses Paid to Date                                    $132,144.83
   15
                Outstanding Fees Total                                             $29,998.35
   16
                Outstanding Expenses Total                                           $5,604.99
   17
                Proposed payment of outstanding fees                               $13,961.14
   18
                Proposed payment of outstanding expenses                             $5,604.99
   19
   20
                Accounting —Crowe
   21
                Total fees and expenses incurred                                  $182,184.48
   22
                Total fees and expenses approved                                  $144,608.41
   23
                Fees and Expenses Paid to Date                                    $144,608.41
   24
                Outstanding Fees Total                                             $37,100.60
   25
                Outstanding Expenses Total                                             $475.47
   26
                Proposed payment of outstanding fees                               $17,266.51
   27
                Proposed payment of outstanding expenses                               $475.47
   28
        j 13326.7:9256079.1                                   /
              MOTION OF STEPHEN 1. DONELI., PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 8 of 22 Page ID #:2166




    1           On Apri14, 2012, this Court entered a final judgment in this case against all
    2 ~ Defendants and the case closed. [Docket Entry 105] Now that the Receiver has
    3 obtained federal and state tax clearance, the Receiver believes he has completed all
    4 of his duties assigned under the Appointing Order and the Receivership should
    5 therefore be terminated, and the Receiver discharged.
    6
    7                                                    II.

    8                            INVESTIGATION AND INVENTORY
    9           The Receiver initially obtained documents and information regarding the
   10 defendants and Receivership Entities from the SEC. Due to the large amount of
   11    misappropriated funds and sophistication of the scheme operated by the defendants,
   12 it was immediately apparent that the Receiver would require the services of
   13 additional professionals in order to complete his investigation and administration of
   14 the Receivership Estate. Among the professionals retained, the Receiver employed
   15 counsel, an accounting firm, and a document recovery and imaging company in
   16 order to analyze the books and records of the Defendants and Receivership Entities
    17 acquired during the investigation.
   18           The Receivership Entities maintained offices in Oakbrook Terrace, Illinois;
   19 Los Angeles, California; and Irvine, California. The Receiver personally visited
   20 each office and informed the employees at each office that he was assuming control
   21    ofthe entity, assets, and premises pursuant to the Appointing Order. Employees at
   22 the offices were interviewed by the Receiver and served with a copy of the
   23 Appointing Order. Some of the employees further assisted the Receiver by
   24 providing information about the Receivership Entities, including relinquishing
   25 books and records to the Receiver. In addition to the physical books and records,
    26 the Receiver also seized all of the computer hard drives of the Receivership Entities
    27 for forensic analysis.
    28
         13326 7 9256079.1                                1S
             MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 9 of 22 Page ID #:2167




    1         Once the Receiver recovered the books and records of the Receivership
    2 Entities, Crowe performed a detailed forensic accounting in order to allocate the
    3 assets and funds of the Receivership Entities and establish the relationship between
    4 the Receivership Entities, the defendants, financial institutions and third parties.
    S   Ultimately, the Receiver determined that substantial funds were transferred through
    6 various individuals and entities, including some located in the country of Turkey.
    7 The Receiver also identified additional third parties who possessed documents and
    8 records of relevance to the Receiver. Upon identifying these third parties, the
    9 Receiver focused his investigation on those third parties to determine their
   10 implication, if any, in the Defendants' scheme. The Receiver also analyzed the
   11   books and records to comprise a list of potential claimants ofthe Receivership
   12 Estate as defined by Local Rule 66-5.
   13         Following his initial investigation, on March 22, 2010, the Receiver filed his
   14 first interim report with this court that detailed such efforts. A true and complete
   15 copy of the Receiver's First Interim Report is attached hereto as Exhibit"D"
   16 [Docket Entry 22]. The Receiver was also ordered to file a status report with the
   17 Court by July 6, 2010. [Docket Entry 24] On June 28, 2010, the Receiver filed his
   18 status report with the Court, attached hereto as Exhibit "E".
   19          As the Receiver uncovered assets and funds, he compiled a detailed inventory
   20 ofthe same. Once a substantially complete inventory was compiled, the Receiver
   21   proceeded to evaluate the available actions required to liquidate the assets and
   22 recover funds for the benefit of the Receivership Estate. The Receiver obtained
   23 Court-approved authority on numerous occasions for the purposes of liquidation and
   24 distribution of the assets and funds.
   25
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        13326 7 9256079.1                                `~
            MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 10 of 22 Page ID
                                 #:2168



  1                                                   III.

  2                             RETENTION OF PROFESSIQNALS
  3         Due to the complexity of the misappropriation scheme and the transfer of
  4 funds across international borders, the Receiver was required to retain various
  5 professionals to assist him in discharging his duties. As the Receiver's investigation
  6 uncovered the breadth of legal issues; investment vehicles; and funds involved in
  7 this case, he retained professionals as necessary. In each instance where
  8 professionals were retained, the Receiver applied to the Court for confirmation of
  9 said retentions. In all such applications, this Court approved the Receiver's
 10 retention of an accounting firm, general counsel and special counsel.
 11         Due to the advanced legal issues involved in this case, it was clear from the
 12 time of his appointment that the Receiver would require general legal counsel to
 13 represent him and the interests ofthe Receivership Estate in this matter. The multi-
 14 jurisdictional nature of the Defendants' scheme would require legal counsel with
 15 experience in such types of receivership matters. Moreover, the Defendants in this
 16 action had retained counsel and maintained a position adverse to the Receiver. Such
 17 noncooperation from the Defendants resulted in further litigation requiring the
 18 Receiver to retain his own counsel. The Receiver retained ECJ as his general
 19 counsel to represent him in this action and any collateral actions that arose during
 20 the course ofthe Receivership. ECJ incurred a total sum of $167,748.17 in fees and
 21   costs during the course of the Receivership, as reflected in the Receiver's Final
 22 Accounting, which includes estimate fees to finalize and file this report. (Ex. C)
 23          The Receiver's initial inspection of the books and records of the Receivership
 24 Entities indicated that a complex accounting was required in order to allocate funds
 25 of the Receivership Estate. Such an undertaking warranted the retention of an
 26 accounting firm with experience in large-scale fraud schemes as occurred in this
 27 case. The Receiver retained the national accounting firm of Crowe to carry out
 28 efforts to locate misappropriated funds and assets. Once Crowe located funds and
      13326.7:9256079.1                                  IU
          MOTION OF STEPHEN J. DONBI.L, PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 11 of 22 Page ID
                                 #:2169



  1   assets, the Receiver could begin to repatriate funds into the Receivership Estate.
 2 Crowe also assumed the duty of maintaining the books and records to administer the
 3 Receivership Estate and advised the Receiver in any tax matters that arose. During
  4 the course ofthe Receivership, Crowe incurred a total sum of $182,184.48 in fees
 5    and costs, as reflected in the Receiver's Final Accounting. (Ex. C)
 6           On April 15, 2010, the Receiver filed a motion to ratify the Receiver's
  7 employment of attorneys and accountants.[Docket Entry 26] On May 6, 201 p, this
 8 Court confirmed and ratified the Receiver's retention of ECJ and Crowe to serve as
 9 his general counsel and accounting firm, respectively. [Docket Entry 33]
 10          During the Receiver's investigation, certain confidential issues arose, which
 11   required the Receiver to retain special counsel. The nature ofthe matters warranted
 12 the filing of several sealed documents with this Court. On April 7, 2011, the
 13 Receiver filed an ex parte application to seal certain documents filed with this
 14 Court. [Docket Entry 74] On the same day this Court approved the Receiver's ex
 15 parte application and ordered certain documents to remain under seal. [Docket
 16 Entry. 76] Without disclosing any details therein beyond the publically available
 17 docket, the Receiver applied for an order authorizing the employment of special
 18 counsel on April 7, 2011. [Docket Entry 77] On the same day, this Court approved
 19 the Receiver's retention of said special counsel. [Docket Entry 78] Special counsel
 20 incurred a total sum of $14,665.00 in fees and costs during the course of the
 21   Receivership, as reflected in the Receiver's Final Accounting. (Ex. C)
 22
 23                                                   IV.
 24              LIQUIDATION OF ASSETS AND CLAIMS PROCEDURE
 25          Based on his inventory, the Receiver identified assets subject to liquidation
 26   and located funds at various financial institutions. Pursuant to the Appointing
 27 Order, the Receiver was able to freeze numerous bank accounts that contained funds
 28 of the Receivership Entities. Additionally, the Receiver was able to obtain refunds
      13326.7:9256079.1
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 12 of 22 Page ID
                                 #:2170



  1   from many legitimate entities that transacted business with the Defendants and
 2 Receivership Entities. Upon identifying assets subject to liquidation, the Receiver
 3    proceeded to seek the permission ofthis Court to take further action which was
 4 granted by this Court.
 5           On April 15, 2010,the Receiver filed a motion to(1)Discontinue Business
 6    Operation;(2) Vacate Premises In Century City, and Irvine, California and
  7 Oakbrook Terrace, Illinois and Reject Leases;(3)Employ Auctioneer to Sell
 8 Personal Property;(4)Return Client Files;(5) Authorize Receiver to Sell Ford E150
  9 Cargo Van;(6)Ratify Employment of Attorneys and Accountants;(7) Approve the
10 Employment of A Property Manager; and(8) Approve Listing Agreement for Real
ll    Property. [Docket Entry 26]. The Court entered an order granting the Receiver's
 12   aforementioned motion on May 6, 2010 [Docket Entry 33]. Following entry of the
 13 Court's Order, the Receiver began to wind up the Receivership Entities and
 14   liquidate the personal and real property thereof.
 15          As indicated above, on June 28, 2010, the Receiver filed his First Status
 16 Report, which provided details regarding the Receiver's liquidation efforts.(Ex. E)
 17 The Receiver discovered that a substantial amount of the misappropriated funds
 18   were transferred into the country of Turkey prior to his appointment. The Receiver
 19 retained special counsel in an attempt to investigate and recover the transferred
 20 funds. Unfortunately, despite the Receiver's best efforts, the funds could not be
 21   recovered from Turkey, and are believed to be unrecoverable by the Receiver.
 22          In total, the Receiver recovered $940,712.48 from several sources.(Ex. C)
 23   As the Receiver marshaled funds into the Receivership Estate, he established a
 24   claims procedure for creditors and investors to make claims against the funds ofthe
 25 Receivership Estate. On July 23, 2012, the Receiver filed a Motion to Establish a
 26   Claims Procedure and Bar Date. [Docket Entry 40] On September 28, 2010, the
 27 Court granted the Receiver's Motion to Establish a Claims Procedure and Bar Date.
 28 [Docket Entry 49] A true and complete copy of the Order granting the Receiver's
      1 3326J:9256079.I                                     1 1,
           MO~~ION OF STEPHEN J. UONF,LL, PERMANENT RECF,IVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 13 of 22 Page ID
                                 #:2171



  1   Motion to Establish a Claims Procedure and Bar Date for Filing Claims is attached
  2 ~ hereto as Exhibit"F" Pursuant to the Court's order, the Receiver caused notice of
  3 the claims procedure to be published in the Los Angeles Daily Journal and Chicago
  4 ~ Sun-Times for two consecutive weeks. Furthermore, the Receiver posted
  5 information regarding the claims procedure on his website and made claim forms
 6 ~ available for download. The Court set a claims bar date ninety(90)days after the
  7 entry of its order and established procedures for objecting to claims and resolving
  8 claims disputes.
  9          In accordance with the claims procedure, the Receiver compiled a database of
 10 claimants and determined whether to accept or reject individual claims. The
 11   Receiver evaluated each claim based on its documentary support; information
 12 obtained from the books and records seized at the Receivership Entities; and
 13 information derived from the Receiver's own investigation. Court intervention was
 14 not required on any claims issues.
 15
 16                                                   1~I
 17                                  DISTRIBUTION OF FUNDS
 18          The majority of recovered funds have been consumed by the administration of
 19 the Receivership Estate, including the numerous professionals required in order to
 20 engage in said administration. In addition to administrative expenses, there are also
 21   several claims that are entitled to receive priority distribution over the claims of
 22 defrauded individuals, as discussed in detail below. Due to the fact that substantial
 23 funds were transferred to Turkey and could not be recovered, there are no funds
 24 remaining for distribution to creditors and claimants after payment of administrative
 25 and priority claims.
 26          As discussed above, the majority of recovered proceeds have been consumed
 27 by the administrative fees and costs of the Receivership Estate. The Receiver
 28 incurred $402,523.13 in fees and $17,234.81 in costs. ECJ, the Receiver's general
      13326 7 9256079 1                                I~
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 14 of 22 Page ID
                                 #:2172



  1   counsel incurred $167,748.17 in fees and costs; the Keceiver's special counsel
  2 incurred $14,665.00 fees and costs; and Crowe, the Receiver's accounting firm
  3 incurred $182,184.48 in fees and costs.
  4          The general rule regarding payment of receivership expenses is that the:
  5         "[C]osts and expenses of a receivership, including compensation for the
 6 receiver, counsel fees, and obligations incurred by him in the discharge of his duties,
  7 constitute a first charge against the property or funds in the receivership..."
  8 66 Am.Jur.2d Receivers § 281 (1973). "The Order of payment of receivership costs
  9 and expenses may be stated as follows: -- First: Payment of what is ordinarily
 10 called court costs and payment of receiver's fees and receiver's counsel fees—the
 11   above mentioned costs and fees are a first charge on the funds or property in the
 12 court's possession and control..." Ralph Ewing Clark, Clark on Receivers, § 637
 13 (3d ed. rev 1992). The Receiver and his retained professionals should therefore
 14 receive the highest priority of distribution from the funds of the Receivership Estate.
 15 This aforementioned first priority of payment is also supported by applying the
 16   bankruptcy principles provided by Local Rule 66-8, as discussed below.
 17          In this case, in addition to the Receiver and his retained professionals, there
 18 exist several claims entitled to priority including thirteen employee wage claims and
 19 an additional administrative claim as follows:
 20         •        An administrative claim by 2121 Avenue of the Stars, LLC ("2121
 21                  Avenue") in the amount of $29,243.46 is entitled to priority by
 22                  stipulation and order of this Court entered on November 9, 2010.
 23                 (Stipulation at [Docket Entry 55]; Order at [Docket Entry 58]) A true
 24                  and complete copy of the Order Approving Stipulation Permitting 2121
 25                  Avenue of the Stars, LLC to Apply Security Deposits is attached hereto
 26                  as Exhibit"G"
 27
 28
      13326.7:9256079.1                                14
           MOTION OF STEPHEN J. DONELL,PERMANENT REC6NER FOR ORDER APPROVING FINAL ACCOUNT AND DISCIlARUIi
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 15 of 22 Page ID
                                 #:2173



  1         •       Combined wage claims totaling $22,486.52 of thirteen former
  2                 employees of the Receivership Entities are entitled to priority pursuant
  3                 to Local Rule 66-8, as discussed below.
  4         Since the claim and priority of 2121 Avenue has already been resolved by
  5 stipulation and order of this Court, no further legal analysis is warranted. The
  6 Receiver believes the wage claims, on the other hand, are entitled to priority in
  7 distribution pursuant to Local Rule 66-8 and United States Bankruptcy Code
  8 ("Bankruptcy Code") 11 U.S.C. § 507(a)(4)(A).
  9         Local Rule 66-8 provides: "Except as otherwise ordered by the Court, a
 10 receiver shall administer the estate as nearly as possible in accordance with the
 11   practice in the administration of estates in bankruptcy." The wage claims should
 12 therefore receive treatment as if the Receivership Estate is analogous to a
 13 bankruptcy estate and the Receiver as the bankruptcy trustee, applying principles of
 14 bankruptcy law. The Bankruptcy Code enumerates priorities in distribution at 11
 15 U.S.C. § 507. As applicable in this case, the first priority in distribution is to the
 16 administrative expenses of the Receiver [trustee](11 U.S.C. § 507(a)(1)(C)), which
 17 includes the fees and costs of his retained professionals. The Bankruptcy Code next
 18 provides second priority, as applicable in this case to "wages, salaries, or
 19 commissions, including vacation, severance, and sick leave pay earned by an
 20 individual[.]" 11 U.S.C. § 507(a)(4)(A).
 21          Thus, the fees and expenses of the Receiver and his professionals should
 22 receive first priority in distribution. Following satisfaction of the fees and expenses
 23 of the Receiver and his professionals, and iri the event that funds become available,
 24 the Receiver proposes to distribute the available funds on a pro rata basis to pay the
 25 priority claims of(i) 2121 Avenue; and (ii) wages.
 26          As of December 18, 2017, a balance of $71,629.38 exists in the receivership
 27 ~ ~ estate. The total amount owed to the Receiver, ECJ, special counsel, and Crowe, is
 28 $145,356.19 consisting of $137,909.44 in fees and $7,446.75 in expenses.
      13326 7:9256079.1
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 16 of 22 Page ID
                                 #:2174



  1   Therefore, at this time, there are insufficient funds to satisfy the fees and costs of the
  2 Receiver and his retained professionals. The Receiver proposes to distribute the
  3 existing funds in his possession, as follows:
  4    PROFESSIONAL FEES DUE                     EXPENSES            FEES TO BE          EXPENSES TO
                                                 DUE                 PAID                BE PAID
  5    Stephen J. Donell,
       Receiver                     70,810.49             1,366.29          32,954.98             1,366.29
  6    Ervin Cohen &
  7    Jessup LLP                   29,998.35             5,604.99          13,961.14             5,604.99
       Crowe Horvath
  8    LLP                          37,100.60               475.47          17,266.51              475.47

  9
                                                      VI.
 10
                            AUTHORITY TO DISCHARGE RECEIVER
 11
             A Receiver may be discharged upon his motion for approval of his final
 12
      account and report after proper notice to all known claimants of the Receivership
 13
      Estate. Local Rule 66-7 provides:
 14
             The receiver shall give notice by mail to all parties to the action and to
 15          all known creditors of the defendant of the time and place for hearing
             of:
 16              (a) Petitions for the payment of dividends to creditors;
                 (b) Petitions for the confirmation of sales of real property and
 17                   personal property;
                  c Report of the receiver;
 18               ~d~ Applications for instructions concerning administration ofthe
                      estate;
 19                e) Applications for discharge of the receiver; and
 20               ~
                  ~ Applications for fees and expenses of the receiver, the attorney
                      for the receiver and any other person to aid the receiver.
                  The provisions of L.R. 6-1 shall apply to such notice.
 21
             Local Rule 6-1 provides that if mailed, the notice of motion shall be served
 22
      not later than thirty-one (31) days before the date of the motion. In this case, the
 23
      Receiver is providing his account and report, applying for discharge and payment of
 24
      fees and expenses. The Receiver, by and through counsel, mailed the notice of
 25
      motion to all known claimants of the Receivership Estate on December 22, 2017 and
 26
      the hearing is set for February 9, 2018, which is in compliance with Local Rule 6-1.
 27
      A true and complete copy of the Receiver's Notice of Motion to Claimants is
 28
      13326 7 9256079.1                                Ih
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING F1NAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 17 of 22 Page ID
                                 #:2175



  1   attached hereto as Exhibit"A" The Receiver has complied with the local rules in
  2 the presentation of this motion and the Court is authorized to grant the Receiver's
  3 requested relief.
  4                                                  VII.
  5                                           CONCLUSION
  6         The Receiver should be discharged because he has fulfilled his duties under
  7 the Appointing Order and final judgment has been entered in this case. For the
  8 aforementioned reasons, the Receiver requests that the Court approve the Receiver's
  9 final account and report and the additional relief requested herein.
 14
 11 ~ DATED: June 14, 2018                      ERVIN COHEN & JESSUP LLP
 12
 13
                                                Bv: /s/ BYRnN Z. MOLI~O
 14                                                BYRON Z. MpLDO
                                                   Attorneys for Stephen J. Donell,
 15
                                                   Permanent Receiver
 16
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 28
      1 3326.7:9256079.1                               I /
           MOTION OF STEPHEN J. DONELL,PERMANENT RECENER FOR ORDER APPROVING FfNAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 18 of 22 Page ID
                                 #:2176



  1                       DECLARATION OF STEPHEN J. DONELL
  2          I, Stephen J. Donell, declare:
  3          1.     On March 9, 2010, I was appointed as Temporary Receiver for
  4   defendant USA Retirement Management Services (aka USA Financial Management
  5 Services, Inc.)("USA")and all entities controlled by defendants Francois E.
 6 Durmaz("Durmaz") and Robert C. Pribilski ("Pribilski"), including Marlali
  7 Property Investment Company,LLC ("Marlali"), and their subsidiaries and affiliates
  8 (collectively "Receivership Entities").
  9          2.     On March 24, 2010 this Court entered its order ("Appointing Order")
 10   which confirmed my appointment as Permanent Receiver.
 11          3.     I was appointed Receiver upon the motion of the Securities and
 12 Exchange Commission ("SEC"), which filed a complaint against the defendants
 13 alleging various violations ofthe Securities Act of 1933 and Securities and
 14 Exchange Act of 1934. The defendants were accused of luring prospective
 15 individuals into a scheme to defraud individuals through various estate planning
 16 investment vehicles. The defendants were, in fact, operating a scheme that
 17   misappropriated approximately $22 million through the Receivership Entities.
 18 Funds were transferred by and between the Receivership Entities, owned and
 19 controlled entities, and the individuals defendants domestically and internationally.
 20 As Receiver I was tasked with liquidating the remaining assets of the Receivership
 21   Entities and attempting to recover funds for the benefit of the defrauded individuals.
 22          4.      The Appointing Order provided, among other things, that the Receiver
 23 had the full powers of an equity receiver for the Receivership Entities and for all
 24 funds, assets, premises, collateral, and other assets belonging to or in the possession
 25 or control of the Receivership Entities or any of them. Pursuant to the Appointing
 26 Order, this Court directed me to make such payments and disbursements from the
 27 funds and assets taken into custody, control and possession or thereafter received by
 28   me, and to incur, or authorize the making of such agreements as may be necessary
      13326.7:9256079.1                                J ~5
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 19 of 22 Page ID
                                 #:2177



  1   and advisable in discharging my duties as Permanent Receiver. As I believe that I
  2 have concluded my duties, I prepared this final account and report.
  3          5.      During the course of the Receivership, I engaged various professionals,
  4 including the law firm of Ervin Cohen &Jessup LLP("ECJ") as general counsel;
  5 special counsel (retention approved pursuant to Court order under seal); the
  6 accounting firm of Crowe Horwath LLP ("Crowe") as principal forensic and tax
  7 accountant.
  8          6.      I investigated the defendants and Receivership Entities by engaging in
  9 detailed document review and forensic accounting. This Court approved the
 10 establishment of a claims procedure that I proposed to allow potential claimants to
 11   make claims against the funds in the Receivership Estate. Once I established an
 12 inventory of the assets ofthe Receivership Estate, I began to liquidate assets and
 13 attempt to recover funds for distribution to investors. Throughout the course ofthe
 14 Receivership, I worked closely with the SEC and regularly provided status updates
 15 to this Court. Furthermore, I have periodically sought further instructions and
 16 approval from this Court when necessary during the administration of the
 17 Receivership Estate.
 18          7.      I previously commenced the process to terminate the Receivership
 19 Estate by submitting final tax returns for the receivership estate. I also requested a
 20 prompt determination of tax liability pursuant to Internal Revenue Code("IRC")
 21   Section 6501(d) which provides, in part, that any proceeding for the collection of tax
 22 shall be begun within eighteen (18) months after written request, which is less than
 23 the standard three(3) year period.
 24          8.      I have received letters from the Internal Revenue Service and
 25 California Franchise Tax Board confirming that as Receiver I have no further
 26 liability to either agency. Therefore, I believe it is appropriate for the receivership
 27 estate to be terminated, the Receiver discharged, and to distribute the remaining
 28 ~ funds in my possession.
      1 3326.7:9256079.1                                  jy
           MOTION OF STEPHEN J. DONELL, PERMANENT' RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
      Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 20 of 22 Page ID
                                       #:2178



        1          9.      The majority of funds that I recovered have been consumed by the
        2 administration of the Receivership Estate, including the numerous professionals
        3 required in order to engage in said administration. In addition to administrative
        4 expenses, I believe there are also several claims that are entitled to receive priority
        5 distribution over the claims of defrauded individuals. Due to the fact that substantial
        6 ~ funds were transferred to Turkey and could not be recovered, there are insufficient
        7 funds at this time to fully satisfy the outstanding amounts owed to me,ECJ, special
        8 counsel, and Crowe.
        9          10.     I incurred $402,523.13 in fees and $17,234.81 in costs. ECJ, my
       10 general counsel incurred $167,748.17 in fees and costs; my special counsel incurred
a
       11 $14,665.00 in fees and costs; and Crowe, my accounting firm incurred $182,184.48
 w
--~    12 in fees and costs.

z      13          1 1.    In addition to the amounts owed to me and my retained professionals,
w
       14 there exist several claims entitled to priority including thirteen employee wage
O
V      15 claims and an additional administrative claim as follows:
z
       16         •        An administrative claim by 2121 Avenue ofthe Stars, LLC ("2121
w
       17                  Avenue") in the amount of $29,243.46 that was approved by this Court
       18                  pursuant to its order entered on November 9, 2010.
       19         •        Combined wage claims totaling $22,486.52 of thirteen former
       20                  employees ofthe Receivership Entities.
       21          12.     I am proposing that the outstanding amounts owed to me and my
       22 professionals should receive first priority in distribution. Following satisfaction of
       23 the fees and expenses of me and my professionals, and in the event that funds
       24 ', ~ become available, I propose to distribute the available funds on a pro rata basis to
       25 ~, ~ pay the priority claims of(i) 2121 Avenue; and (ii) wages.
       26          13.     As of December 18, 2017, a balance of $71,729.38 exists in the
       27 receivership estate. The total amount owed to me, ECJ, special counsel, and Crowe,
       28 is $145,356.19. Therefore, at this time, there are insufficient funds to satisfy the
            1 3326.7:9256079. I                               1,L)
                 MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FWAL ACCOUNT AND DISCI]ARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 21 of 22 Page ID
                                 #:2179



  1   fees and. costs of me and his retained professionals. I propose to distribute the
  2 existing funds in my possession, as follows:
  3    PROFESSIONAL FEES DUE                     EXPENSES            FEES TO BE          EXPENSES TO
                                                 DUE                 PAID                BE PAID
 !~
       Stephen J. Donell,
       Receiver                     70,810.49             1,366.29          32,954.98             1,366.29
  5    Ervin Cohen &
  6    Jessu LLP                    29,998.35             5,604.99          13,961.14             5,604.99
       Crowe Horwath
       LLP                           37,100.60              475.47          17,266.51              475.47


             I declare under penalty of perjury that the foregoing is true and correct.
  9
             Executed this 14th day of June, 2018, at Los Angeles, California.
 10
 11
 12
 13
 14                                                        STEPHEN J. DONELL

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          MOT10N OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
Case 2:10-cv-01689-JLS-AJW Document 111 Filed 06/20/18 Page 22 of 22 Page ID
                                 #:2180


                                      CERTIFICATE OF SERVICE
  2   STATE OF CALIFORNIA
      COUNTY OF LOS ANGELES
  3
            I am employed in the County ofLos Angeles, State of California. I am over
  4   the age of eighteen(18)years and not a party to the within action. My business
      address is 9401 Wilshire Boulevard, Beverly Hills, California 90212-2974.
  5
            On June 20,2018,I served the document described as: NOTICE OF
  6   MOTION AND MOTION OF STEPHEN J. DONELL,PERMANENT
      RECEIVER,TO APPROVE: RECEIVER'S FINAL ACCOUNT AND
  7   REPQRT AND COMPENSATION;REQUEST FOR COMPENSATION OF
      THE RECEIVER'S COUNSEL AND ACCOUNTANT;DISCHARGE OF
  8   THE RECEIVER; ABANDONMENT OR DESTRUCTION OF BOOKS AND
      RECORDS; DISBURSEMENT OF REMAINING FUNDS; AND
  9   EXONERATION OF THE BOND;DECLARATION OF STEPHEN J.
      DONELL IN SUPPORT THEREOF on counsel for the parties in this action, or
 10   on the parties in propria persona, addressed as stated on the attached service list:
 11 [ ] BY U.S. MAIL: By placing true and correct copies thereof in individual
    sealed envelopes with postage thereon fully~prepaid, which I deposited with my
 12 employer for collection and mailing by the United States Postal Service. I am
    readily familiar with my.employer s practice for the collection and processing of
 13 correspondence for mailing with the United States Postal Service. In the ordmary
    course of business, this correspondence would be deposited by my employer with
 14 the United States Postal Service on that same day. I am aware that on motion ofthe
    party served, service is presumed invalid ifpostal cancellation date or postage meter
 15 date is more than one day after the date of deposit for mailing in affidavit:

 16 [X]     BY ELECTRONIC TRANSMITTAL: I caused such document to be sent via
      email to the following e-mail addresses:
 17
      Peter Alan Davidson pdavidson@ecjlaw.com, 1pekrul@ecjlaw.com
 18   Mark M Hathaway mhathaway@werksmanlaw.com
      David J Van Havermaat marcelom@sec.gov, larofiling@sec.gov, vanhavermaatd@sec.gov
 19   Morgan B Ward Doran warddoranm@sec.gov
      Byron Z Moldo echeung@ecjlaw.com, pdavidson@ecjlaw.com, bmoldo@ecjlaw.com,
      ]pekrul@ecjlaw.com, steve.donell@jalmar.com
 20

 21

 22 [X] (FEDERAL) I declare that I am employed in the office of a member ofthe
               bar of this Court at whose direction the service was made.
 23
      EXECUTED on June 20,2018, at Beverly Hills, California.
 24

 25
                                                             /s/ Lore Pekrul
 26                                                          Lore Pekrul
 27

 28


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